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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7     In re ORDELL ELIZABETH MOON,                       Case No. 23-cv-04521-PCP
                                                         Debtor-Appellant.
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                                                                                            ORDER DENYING MOTION TO
                                   9                                                        IMPOSE STAY AND DENYING
                                                                                            MOTION FOR EXTENSION OF TIME
                                  10
                                                                                            Dkt. Nos. 4, 5
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                                  12
Northern District of California
 United States District Court




                                  13           Appellant Moon moves to impose a stay as to Appellees Citibank, N.A. and Deutsche

                                  14   Bank National Trust Co., creditors who have claimed a security interest in the contested property.

                                  15   ECF No. 4. The Court denies Moon’s motion for failing to state an entitlement to a stay under the

                                  16   requirements set forth in Federal Rule of Bankruptcy Procedure 8007(b). The Court’s denial is

                                  17   without prejudice. Should she continue to believe a stay is appropriate, Moon may submit a new

                                  18   motion setting forth, with specificity, the reasons why she satisfies each of the requirements of

                                  19   Rule 8007(b).

                                  20           Moon also moves to extend time to file her principal brief, requesting a continuation of the

                                  21   current deadline by fifteen days, from October 5, 2023 to October 20, 2023. ECF No. 5. Moon

                                  22   misunderstands the briefing schedule in this case, however. As explained in the case management

                                  23   scheduling order, her principal brief is due 30 days after the record from the bankruptcy court is

                                  24   noticed on the electronic docket. ECF No. 2. The record below was noticed on September 26,

                                  25   2023. ECF No. 3. Accordingly, Moon’s opening brief is due on October 26, 2023. Because that

                                  26   deadline falls after the revised deadline requested in the motion, the Court denies Moon’s motion

                                  27   to extend her time to file a principal brief.

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                                   1          IT IS SO ORDERED.

                                   2   Dated: October 5, 2023

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                                                                      The Honorable P. Casey Pitts
                                   5                                  United States District Judge
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Northern District of California
 United States District Court




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